      CASE 0:17-cv-02413-PAM-LIB Document 30 Filed 01/09/18 Page 1 of 1
                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                     ___________________

                                         No: 17-3528
                                     ___________________

                                            John Doe

                                                Plaintiff - Appellant

                                                  v.

                                St. John's University, Minnesota

                                    Defendant - Appellee
______________________________________________________________________________

         Appeal from U.S. District Court for the District of Minnesota - Minneapolis
                                   (0:17-cv-02413-PAM)
______________________________________________________________________________

                                         JUDGMENT

       The joint stipulation for dismissal is granted. The appeal is hereby dismissed in

accordance with the Federal Rules of Appellate Procedure 42(b).

       The Court's mandate shall issue forthwith.

                                                       January 09, 2018




Order Entered Under Rule 27A(a):
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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